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                        IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF ARKANSAS
                                  WESTERN DIVISION

UNITED STATES OF AMERICA                                                          PLAINTIFF

vs.                                Case No. 4:12-cr-00306-10-KGB

LARRY JOE WILLIAMS                                                               DEFENDANT

                                              ORDER

        Before the Court is defendant Larry Joe Williams’s Motion for Sentence Reduction based

on Sentencing Guideline Amendment 782 (Doc. No. 784). For the following reasons, the Court

denies the motion.

        Amendment 782 retroactively reduces most drug quantity base offense levels by two.

However, only those defendants serving a sentence determined or affected by a range calculated

using the drug quantity table, United States Sentencing Guideline § 2D1.1, are potentially

eligible for a reduction. Since Mr. Williams’s base offense level was determined by his career

offender status under United States Sentencing Guideline § 4B1.1, not the drug quantity table, he

is not eligible for a reduction.

        It is so ordered this 27th day of May, 2015.



                                                       ________________________________
                                                       Kristine G. Baker
                                                       United States District Judge
